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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           TALLAHASSEE DIVISION


TAMICA L. JACKSON,

      Plaintiff,

v.                                          Case No.: 4:20cv407-MW/MAF

FLORIDA DEPARTMENT OF
HIGHWAY SAFETY AND
MOTOR VEHICLES,

     Defendant.
___________________________/

                     ORDER ACCEPTING AND ADOPTING
                      REPORT AND RECOMMENDATION

      This Court has considered, without hearing, the Magistrate Judge's Report and

Recommendation. ECF No. 23. Plaintiff has filed a demand for an evidentiary

hearing but no objections, and she has failed to file an amended pleading on the

required form. Upon consideration, no objections having been filed by the parties,

      IT IS ORDERED:

      The report and recommendation is accepted and adopted as this Court’s

opinion. The Clerk shall enter judgment stating, “Plaintiff’s claims are DISMISSED

for failure to comply with a court order and for want of prosecution.” Plaintiff’s
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petition for evidentiary hearing, ECF No. 24, is DENIED as moot. The Clerk shall

close the file.

       SO ORDERED on March 15, 2021.

                                    s/Mark E. Walker
                                    Chief United States District Judge




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